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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS LLC                     §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §            Case No: 2:17-cv-159- JRG-RSP
                                    §
MOTOROLA MOBILITY LLC               §
.                                   §
      Defendants.                   §
___________________________________ §


                      ORDER OF DISMISSAL WITH PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s motion to dismiss with prejudice Defendant Motorola Mobility LLC pursuant to Fed. R.

Civ. P. 41(a).

       Therefore, IT IS ORDERED that Plaintiff’s claims against Defendant Motorola

Mobility LLC are dismissed with prejudice.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 30th day of April, 2017.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE
